      Case 22-60004 Document 263 Filed in TXSB on 03/20/24 Page 1 of 2




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION


In re:                               )
DAVID MICHAEL MOBLEY                 )                          Case No. 22-60004 (CML)
                                     )
                                     )
     Debtor                          )                          Chapter 11
                                     )
____________________________________ )

               THE COUNTY OF WHARTON, TEXAS’ NOTICE
      OF WITHDRAWAL OF LIMITED OBJECTION TO CONFIRMATION OF
             DEBTOR’S AMENDED PLAN OF REORGANIZATION
                        (Withdrawing ECF 251)

 1.   The County of Wharton, Texas notifies the Court and all other parties that it withdraws

      its Limited Objection to Confirmation of Debtor’s Amended Plan of Reorganization

      filed herein on 02/16/2024. Wharton’s objections have been resolved via inclusion of

      language in the proposed confirmation order.

      Date: March 20, 2024                       Respectfully submitted,


                                                 McCREARY, VESELKA, BRAGG &
                                                 ALLEN, P.C.

                                                 By: /s/ Julie Anne Parsons
                                                    Julie Anne Parsons
                                                    Texas Bar No. 00790358
                                                    P. O. Box 1269
                                                    Round Rock, TX 78680
                                                    Telephone: (512) 323-3241
                                                    Fax: (512) 323-3205
                                                    Email: jparsons@mvbalaw.com
                                                    Attorneys for The County of Wharton,
                                                    Texas herein




                                             1
        Case 22-60004 Document 263 Filed in TXSB on 03/20/24 Page 2 of 2




                                CERTIFICATE OF SERVICE

   The undersigned hereby certifies that on March 20, 2024, a true and correct copy of the

foregoing document was filed with the Court and served via the Court’s electronic noticing

system to all parties registered to receive such notice in the above-captioned proceeding

including but not limited to debtor’s counsel, the United States Trustee, the Examiner, and all

parties having filed a Notice of Appearance and Request for Notice. The undersigned has

additionally mailed a copy of this objection to the Debtor by first class U.S. Mail at his address

of record 3815 Montgomery Rd., Richmond, TX 77406

                                                         /s/ Julie Anne Parsons
                                                         Julie Anne Parsons




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